Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                  Exhibit Loan Modification Agreement Page 1 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                  Exhibit Loan Modification Agreement Page 2 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                  Exhibit Loan Modification Agreement Page 3 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                  Exhibit Loan Modification Agreement Page 4 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                  Exhibit Loan Modification Agreement Page 5 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                  Exhibit Loan Modification Agreement Page 6 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                  Exhibit Loan Modification Agreement Page 7 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                  Exhibit Loan Modification Agreement Page 8 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                  Exhibit Loan Modification Agreement Page 9 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 10 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 11 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 12 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 13 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 14 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 15 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 16 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 17 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 18 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 19 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 20 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 21 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 22 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 23 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 24 of 25
Case 1:21-bk-02417-HWV Doc 25-3 Filed 03/22/22 Entered 03/22/22 14:13:40   Desc
                 Exhibit Loan Modification Agreement Page 25 of 25
